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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
        v.                                     :       Criminal No. 21-cr-00569-1 (TNM)
                                               :
JESSE R. BENTON,                               :
                                               :
                 Defendant.                    :

                         JOINT PROPOSED VOIR DIRE QUESTIONS

         1.      Is there anything about the nature of the charges that would make it difficult for

you to render a fair and impartial verdict in this case? If so, please write the number “1” on your

index card.

         2.      Do you believe you may know anything about the facts and circumstances of this

case, other than what I have told you today? If so, please write the number “2” on your index

card.

         3.      The United States is represented in this case today by Rebecca Ross, Michelle

Wasserman, and Michelle Parikh. Do you recognize or think that you might know Ms. Ross,

Ms. Wasserman, or Ms. Parikh? If so, please write the number “3” on your index card.

         4.      The defendant in this case is Jesse R. Benton. Do you recognize or think that you

might know Mr. Benton? If so, please write the number “4” on your index card.

         5.      The defendant is represented in this case by Brian Stolarz and [name]. Do you

recognize or think that you might know Brian Stolarz or [name]? If so, please write the number

“5” on your index card.

         6.      The defendant was charged in this case along with another individual named Roy

Douglas Wead who is not part of this trial. Did any of you know or have any connection to Mr.

Wead? If so, please write the number “6” on your index card.
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       7.      The government will call a number of witnesses to testify during the trial. The

defense may also do so, but is not required to call witnesses. I will ask each party to introduce or

read a list of names of witnesses that you may hear from, or hear about, during the trial. Not all

of these witnesses will necessarily testify, but they are being introduced to determine whether

any of you recognize or think that you may know any of the potential witnesses in this case.

After the parties are finished, please mark your card with a number “7" if you recognize or think

that you may know any of these witnesses, and please write down the names of the witnesses you

think you might recognize or know. [Parties read witness lists]

       8.      Do you recognize or think that you might know any other member of the jury

panel or any other person in the courtroom, including myself or courtroom staff? If so, please

write the number “8” on your index card.

       9.      Persons who have been charged with crimes are presumed to be innocent. This

presumption continues through the trial unless and until the government proves a defendant

guilty beyond a reasonable doubt. Would you have any difficulty at all in following this

principle? If so, please write the number “9” on your index card.

       10.     Have you, or any of your family, close friends, or household members, ever

studied or practiced law or had any legal training, including paralegal training? If so, please

write the number “10” on your index card.

       11.     Have you, or any of your family, close friends, or household members, ever

worked for or with an office that handles prosecution or with law enforcement? By

“prosecution,” I mean government agencies such as the United States Attorney’s Office, a

district attorney’s office, or an attorney general’s office. By “law enforcement,” I mean

government agencies like state and local police departments; the Metropolitan Police



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Department; the Federal Bureau of Investigation, also known as the FBI; the Department of

Justice; the U.S. Marshal’s Service; the Bureau of Alcohol, Tobacco, Firearms, and Explosives,

also known as the ATF; the Internal Revenue Service; the U.S. Secret Service; the CIA; and the

Department of Homeland Security. If so, please write the number “11” on your index card.

       12.     Have you, or any of your family, close friends, or household members, ever done

any work for or with any person or organization that does criminal defense work, such as the

Federal Defender’s Office, the Public Defender’s office, defense attorneys, or a private law firm?

This question also includes work as a private investigator. If so, please write the number “12”

on your index card.

       13.     Have you, or any of your family, close friends, or household members, ever

worked at a courthouse or for a court system at a federal, state, or local level, including as a

probation or parole officer? If so, please write the number “13” on your index card.

       14.     Do you, or any of your family, close friends, or household members, have a

pending application for employment with the United States Attorney's Office; a public defender

service; a law firm that does criminal defense work; or with any local, state, or federal law

enforcement agency? If so, please write the number “14” on your index card.

       15.     Have you ever served on a Grand Jury? If so, please write the number “15” on

your index card. [Suggested follow-up for those who answer “yes” at the bench: Is there

anything about that experience that would make it hard for you to be fair to both sides in this

case? A grand jury investigates cases and charges a person with a crime when there's probable

cause to believe the person committed it. The trial jury decides whether the government has

proven the case beyond a reasonable doubt. You understand the difference, right? Are you

confident you can be fair sitting on a trial jury?]



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       16.     Have you ever served on a trial jury, either in a civil or a criminal case? If so,

please write the number “16” on your index card. [Suggested follow-up for those who answer

“yes” at the bench: Without telling us what the verdict actually was, was the jury able to reach a

verdict in your case? Is there anything about that experience that would make it hard for you to

be fair to both sides in this case? Do you understand that the burden of proof in a criminal case

is greater than the burden in a civil case?]

       17.     Have you, or any of your family, close friends, or household members, had any

unpleasant experiences with the police or a prosecutor or other law enforcement, whether here in

D.C. or elsewhere? Or unpleasant experiences with a defense attorney or defense investigator,

whether here in D.C. or elsewhere? If so, please write the number “17” on your index card.

       18.     There will be testimony from law enforcement personnel in this case. Would the

fact that a witness is a police officer or law enforcement agent have any effect at all on whether

or not you believe that person’s testimony? In other words, would the fact that a witness is a

police officer or law enforcement agent make you more likely to believe his or her testimony?

Or make you less likely to believe his or her testimony? If so, please write the number “18” on

your index card.

       19.     Have you, or any of your family, close friends, or household members, ever been

the victim of or a witness to a crime, regardless of whether it was reported to law enforcement?

By “crime” here I mean something other than parking or speeding tickets. If so, please write the

number “19” on your index card.

       20.     Have you, or any of your family, close friends, or household members, ever been

arrested for or charged with a crime? By “crime” here I mean something other than parking or

speeding tickets. If so, please write the number “20” on your index card.



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       21.     Have you ever attempted to make a contribution to a presidential candidate or to a

political committee but were notified that the contribution had been rejected or returned? If so,

please write the number “21” on your index card.

       22.     Do you have any strong opinions about campaign finance laws that would be

make difficult to be fair and impartial in the case? If so, please write the number “22” on your

index card.

       23.     Our election laws prohibit contributions made in the name of another, also known

as conduit or straw contributions, which are essentially contributions that a person makes with

someone else’s money. Do you have such strong opinions about this prohibition that it would be

difficult for you to be fair and impartial in this case? If so, please write the number “23” on

your index card.

       24.     Our election laws prohibit contributions made with funds from a foreign person or

a foreign government. Do you have such strong opinions about this prohibition that it would be

difficult for you to be fair and impartial in this case? If so, please write the number “24” on

your index card.

       25.     Would the fact that this case involves an alleged contribution from a Foreign

National from Russia affect your service in any way or give you pause about serving on this

jury? If so, please write the number 25 on your index card.

       26.     This question has three parts. You may hear evidence that the defendant was

previously convicted of a crime, and later pardoned by President Donald Trump.

               a. I will instruct you that you may not use the defendant’s prior conviction as

                   proof that he has a proclivity toward committing crimes. As I will instruct

                   you more fully at the close of the case, you may only consider the defendant’s



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                   prior conviction for certain specific and limited purposes, such as proof of

                   lack of mistake or accident or indicative of his knowledge of the law. Would

                   you have difficulty following my instruction on the limited use of any prior

                   conviction in this case? If so, please write the number “26.a” on your index

                   card.

               b. Does the fact that that you may hear evidence of a prior conviction make you

                   more likely to think that Mr. Benton was guilty of the charges against him in

                   this case? If so, please write the number “26.b” on your index card.

               c. Is there anything about the fact that you may hear evidence that the defendant

                   was pardoned by President Trump that would make it difficult for you to be

                   fair and impartial in this case? If so, please write the number “26.c” on your

                   index card.


       27.     Do you have any strong opinions concerning the FBI or the United States

Department of Justice that would make it difficult for you to be fair and impartial in this case? If

so, please write the number “27” on your index card.


       28.     As noted earlier, this case will involve evidence of a contribution made to a

candidate for the Office of the President of the United States in the 2016 election. There is no

allegation that either the political committee, the candidate or the candidate’s campaign was

aware of the allegedly unlawful nature of the contributions that were allegedly made by the

defendants, or that either the candidate or the candidate’s campaign committed any crime in

connection with these contributions. Nonetheless, do you have such strong opinions about the

2016 presidential election or about either of the candidates in that election that your opinions



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would undermine your ability to be fair and impartial in this trial? If so, please write the number

“28” on your index card.

        29.    During the course of this trial, you will hear reference to Donald Trump, Donald

Trump’s 2016 presidential campaign, and political committees that supported Donald Trump. Is

there anything about that that might affect your service, give you pause about serving, or make

you reluctant to serve as a juror in this case? If so, please write the number “29” on your index

card.

        30.    Would the fact that this case involves an alleged $25,000 contribution to support

Donald Trump’s candidacy for president in 2016 affect your service in any way or give you

pause about serving on this jury? If so, please write the number “30” on your index card.

        31.    Would the fact that this case involves contributions to support the Republican

Party affect your service in any way or give you pause about serving on this jury? If so, please

write the number “31” on your index card.


        32.    Did you or any of your family members or friends work for a campaign in the

2016 presidential election or for a political committee affiliated with either campaign or a

national political party? If so, please write the number “32” on your index card.


        33.    Do you, a family member, or a close friend have any education, training or work

or volunteer experience in politics, elections, fundraising, political campaigns, political action

committees, or election law? If so, please write the number “33” on your index card.

        34.    Do you, a family member, or a close friend have any experience with the Federal

Election Commission, which is also known as the FEC? If so, please write the number “34” on

your index card.



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       35.     Do you have any moral, social, political, philosophical, spiritual, religious or any

other creed or belief that would make it hard for you to sit as a juror in this case? If so, please

write the number “35” on your index card.

       36.     This is a criminal case, so the United States has to prove its case beyond a

reasonable doubt. Is there anyone who disagrees with this standard or who does not think that

they would follow this standard? If so please write the number “36” on your index card.

       37.     An indictment merely describes the accusations against the Defendant and enables

a case to be brought to trial. An indictment is not proof of anything. You must not draw any

inference against Mr. Benton from the fact that he has been charged in an indictment. Does

anyone have any hesitation about being able to follow that instruction. If so, please write the

number “37” on your index card.

       38.     A person accused of a crime does not have to testify in his defense, or present any

witnesses or evidence, and his silence cannot be used against him. Do you feel that if someone is

charged with a crime, and he is innocent, he should always testify in his own defense? If so,

please write the number “38” on your index card.

       39.     Would you view a decision by the Defendant not to testify or put on a defense in

this case as evidence of guilt or hold it against the Defendant in any way? If so, please write the

number “39” on your index card.

       40.     If you were selected as a juror in this case, would it be difficult for you to

disregard any ideas, notions, or beliefs about the political or electoral process you may hold, and

render a fair and impartial verdict based solely on the evidence presented and my instructions on

the law? If so, please write the number “40” on your index card.




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       41.        The law requires that jurors weigh the evidence in a case and reach a verdict

based solely upon the admitted evidence and instructions of law, without any regard whatsoever

for what the potential punishment might or might not be. Would you have any difficulty at all in

following this principle? If so, please write the number “41” on your index card.

       42.        Anyone who is selected to serve on this jury will take an oath to follow the law as

instructed by this Court. Would you for any reason not be able to accept and follow my

instructions regarding the law? If so, please write the number “42” on your index card.

       43.        Are you presently taking any medication, or experiencing any medical condition

or other physical, mental, or emotional condition, that might cause drowsiness, confusion, or

discomfort, or that might in any way affect your ability to give your full attention to this case?

Do you have any physical or medical condition that might need some sort of accommodation

from the Court during trial, such as more frequent breaks in order to stand or use the restroom,

etc.? If so, please write the number “43” on your index card.

       44.        Do you have trouble understanding English, have any vision or hearing problems,

or are you sitting next to someone you believe might have trouble understanding English or have

vision or hearing problems? If so, please write the number “44” on your index card.

       45.        In my courtroom, the jury usually begins its day at             a.m., and usually

ends its day at              p.m. We are estimating that we will conclude with jury selection

today, and that opening statements and the presentation of evidence will begin tomorrow. We

expect the trial to conclude by Tuesday or Wednesday of next week, and then the jury will begin

deliberations. The time that the jury needs to deliberate will be determined by the jury itself.

The Court will not be in session for either trial or jury deliberations on Friday of this week, so if

necessary deliberations could continue into next week. Are there any matters that you simply



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must attend to this week or next week such that you could be faced with a hardship if selected for

the jury in this case? If so, please write the number “45” on your index card.

        46.     Is there any reason or issue, not already raised, that might interfere with your

ability to treat both sides fairly and arrive at a fair and impartial verdict, or that causes you to feel

you should not sit as a juror in this case? If so, please write the number “46” on your index

card.


                                                         Respectfully submitted,

                                                         COREY R. AMUNDSON
                                                         Chief, Public Integrity Section
                                                         Criminal Division
                                                         U.S. Department of Justice

                                                By:      /s/ Michelle K. Parikh

                                                         Michelle K. Parikh (D.C. Bar No. 1044532)
                                                         Rebecca G. Ross (N.Y. Bar No. 5590666)

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                                                By: /s/ Brian W. Stolarz

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

attorneys of record for the Defendant.



Dated: October 14, 2022                              /s/ Michelle K. Parikh
                                                     Michelle K. Parikh
                                                     Public Integrity Section
                                                     Criminal Division
                                                     U.S. Department of Justice




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